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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA
                       Criminal No. 22-180 (JNE/TNL)

UNITED STATES OF AMERICA,                  )
                                           )
                                           )
                                                 GOVERNMENT’S
                   Plaintiff,              )
                                                 RESPONSE TO
                                           )
                                                 DEFENDANT’S MOTION
             v.                            )
                                                 FOR RELEASE
                                           )
ANTHONY LEE HITCHCOCK,                     )
                                           )
                   Defendant.              )

        The United States of America, by and through its attorneys, Andrew M.

Luger, United States Attorney for the District of Minnesota, and Thomas

Calhoun-Lopez, Assistant United States Attorney, hereby submits its response

to Defendant Anthony Lee Hitchcock’s motion for release from pretrial

detention. (Document No. 37.) The United States opposes the Defendant’s

motion.

        At the detention hearing on August 22, 2022, U.S. Magistrate Judge

Becky R. Thorson ordered the Defendant detained based upon a showing that

detention was necessary to assure the Defendant’s appearance at future court

proceedings, and to assure the safety of the community. (Document No. 13.)

This finding was consistent with the recommendation of Pretrial Services.

(Id.)

        The Defendant in his instant motion points to nothing that would
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meaningfully disturb Judge Thorson’s findings.           The deterioration of the

health of the Defendant’s grandmother is very unfortunate, and is no doubt

difficult for the Defendant and his family.         However it does not alter the

analysis of the factors that informed Judge Thorson’s decision.

      Detention remains necessary to assure the safety of the community.

The Defendant has a lengthy and violent criminal history. He was convicted

in 2004, at the age of 19, of aggravated assault with a deadly weapon, and was

sentenced to seven years’ imprisonment. (Bond Report 3.) A series of arrests

and misdemeanor convictions followed, until 2014, when he was convicted of

first-degree burglary–assault. (Id. at 3–4.) In that case, the Defendant, in

the course of a home invasion with another man, chased a woman into the

bathroom and pinned her to the ground by her hair. (Id. at 4.) Brandishing

a heavy item over her head, the Defendant repeatedly threatened to kill her as

he forced her to detail where the valuables in the apartment were. (Id.). He

was sentenced to 36 months’ imprisonment. (Id.) Additional misdemeanor

convictions followed until 2019, when he was convicted of two separate drug

felonies.   (Id. at 5.)   In 2019, the Defendant committed another burglary.

(Id.) This time the Defendant forced the occupants of their apartment and

destroyed household items inside.           (Id.)   Children in the neighboring

apartment hid in the bathroom as the Defendant carried out the crime. (Id.)

The Defendant was sentenced to 39 months’ imprisonment. (Id.)

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      Prior court supervision and lengthy prison sentences have been

insufficient to deter the Defendant from continuing to commit serious and

violent crime. Detention is necessary in this case to reasonably assure the

safety of the community pursuant to 18 U.S.C. § 3142(e)(1).

      The nature and circumstances of the instant charged offense are also

troubling, involving not only allegations of possession of a firearm, but

trafficking of dangerous narcotics. (Gov’t Det’n Ex. 1 at 3–5.) The Defendant

is alleged to have said upon his arrest that when he woke up that morning, he

knew “one of three things was going to happen: [he] was going to jail, [he] was

getting killed, or [he] was going to kill someone.” (Id. at 5.)

      Detention is also necessary to assure the future appearance of the

Defendant. The Defendant’s criminal history includes failures to appear in

2013, 2018, and 2019. (Bond Report 4–5.) His criminal history also includes

the commission of crimes while on court supervision.         (Id.)   Detention is

necessary in this case to reasonably assure the Defendant’s future appearance

pursuant to 18 U.S.C. § 3142(e)(1).




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     For the foregoing reasons, the United States requests that the Court

deny the Defendant’s release.

Dated: October 4, 2022

                                        Respectfully Submitted,

                                        ANDREW M. LUGER
                                        United States Attorney



                                        s/ Thomas Calhoun-Lopez
                                        BY: THOMAS CALHOUN-LOPEZ
                                        Assistant U.S. Attorney
                                        Attorney ID No. 480908DC




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